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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

Savannah Bourbon Company, LLC          )
                                       )
                    Plaintiff,         )
                                       )
           V.                          )
                                       )       CIVIL ACTION NO. _________
Savannah Seltzer LLC and Andrew        )
Ryan Stafford,                         )
                                       )
                    Defendants.        )
                                       )

                                  COMPLAINT

      COMES NOW Savannah Bourbon Company, LLC (“Plaintiff”) and sets

forth its Complaint against Savannah Seltzer LLC and Andrew Ryan Stafford

(“Defendants”) as follows:

                                  JURISDICTION

      1. This is an action for trademark counterfeiting, trademark infringement,

dilution, and unfair competition arising under the United States Trademark Act

of 1946, as amended, 15 U.S.C. § 1051 et seq.; trademark infringement and unfair

competition pursuant to the Georgia Uniform Deceptive Trade Practices Act,

O.C.G.A. § 10-1-370 et seq; and trademark infringement pursuant to the common

laws of Georgia.
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       2. This Court has jurisdiction over all causes of action set forth herein

pursuant to 15 U.S.C. § 1121, 28 U.S.C. §§ 1331, 1338(a) and 1338(b), and the

supplemental jurisdiction of this Court as provided in 28 U.S.C. § 1367.

       3. Venue is proper in this judicial district and division pursuant to

28 U.S.C. § 1391(b) and § 1391(c) because a substantial part of the events or

omissions giving rise to these claims occurred in this district, because Defendants

committed the acts referenced in this Complaint within the State of Georgia and

within this judicial district and division, and/or because the Defendants are

subject to the court’s personal jurisdiction with respect to this action in this

judicial district.

                                 THE PARTIES

       4. Plaintiff Savannah Bourbon Company, LLC is a Georgia limited

liability company with its principal place of business at 3621 Vinings Slope,

#2523, Atlanta, GA 30339.

       5. On information and belief, Defendant Savannah Seltzer LLC is a

Georgia limited liability company with its principal place of business at 2062

Brightleaf Way, Marietta, GA 30060.




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      6. On information and belief, Defendant Andrew Ryan Stafford is a

resident of the state of Georgia with an address of 2062 Brightleaf Way, Marietta,

GA 30060.

                              RELEVANT FACTS

                         PLAINTIFF’S TRADEMARKS

      7. Plaintiff sells distilled spirits in commerce in the United States

including in Georgia.

      8. Since at least 2014, Plaintiff has advertised, offered for sale and sold

distilled spirits under the name and mark SAVANNAH BOURBON COMPANY,

SAVANNAH (and Design), and SAVANNAH (collectively the SAVANNAH

Marks).

      9. Plaintiff began offering for sale and selling distilled spirits in commerce

in the United States under the SAVANNAH Marks at least as early as 2014, and

has used the SAVANNAH Marks mark continuously since that date.

      10. Plaintiff is the owner of U.S. Trademark Registration No. 6181787 for

the mark SAVANNAH (and Design) for “alcoholic beverages except beer;

alcoholic beverages, namely, distilled spirits such as whiskey, bourbon, gin and

vodka.” A true and correct copy of the Certificate of Registration is attached as

Exhibit A.



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        11. As a result of Plaintiff’s extensive advertising, promotion, and sale of

distilled spirits under the SAVANNAH Marks, Plaintiff has developed

considerable goodwill in these marks. Plaintiff has acquired secondary meaning

in the term SAVANNAH such that relevant consumers in Georgia recognize the

term SAVANNAH as an indicator of source for Plaintiff’s goods.

        12. Plaintiff acquired goodwill and secondary meaning in SAVANNAH

prior to Defendants first sale of goods bearing the SAVANNAH SELTZER Mark

in commerce.

        13. Plaintiff has used its SAVANNAH Marks continuously since 2014, uses

the mark in interstate commerce in the United States, and has not abandoned the

mark.

                    DEFENDANTS INFRINGING CONDUCT

        14. On information and belief, Defendants are advertising, promoting, and

preparing to offer for sale and sell a vodka-based hard seltzer under the mark

SAVANNHA SELTZER in Georgia.

        15. On information and belief, Defendants intend to begin selling their

vodka-based hard seltzer beginning in early 2022.

        16. On information and belief, Defendants are currently advertising,

offering for sale and selling collateral merchandise bearing the mark



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SAVANNAH SELTZER in commerce in the United States and in Georgia, such as

can coolers and apparel.

       17. Plaintiff has not authorized Defendants to use SAVANNAH in

connection with a vodka-based hard seltzer or any other alcoholic beverages.

       18. Defendants’ proposed use of SAVANNAH SELTZER for its vodka-

based hard seltzer is likely to cause consumer confusion with Plaintiff’s well-

known SAVANNAH Mark.

       19.   Plaintiff sent a demand letter to Defendants on October 27, 2021,

informing Defendants of Plaintiff’s prior use and registration of its SAVANNAH

Marks for distilled spirits.

       20. In respond to the demand letter, Defendants refused to stop using the

mark SAVANNAH SELTZER Mark.

       21. Defendants continued advertising and promotion of vodka-based hard

seltzer under the name SAVANNAH SELTZER constitutes willful trademark

infringement of Plaintiff’s trademark rights.

       22. On information and belief, Defendant Andrew Ryan Stafford is a

member and/or officer of Defendant Savannah Seltzer LLC and/or has the right

and ability to control the aforementioned conduct by Defendant Savannah Seltzer

LLC.



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                                    COUNT I.

            INFRINGEMENT OF A REGISTERED TRADEMARK
                   IN VIOLATION OF 15 U.S.C. § 1114

      23. Paragraphs 1-23 are realleged and incorporated herein by reference.

      24. Defendants unauthorized use of SAVANNAH SELTZER as a mark in

commerce is likely to cause confusion, or to cause mistake, or to deceive, and is

likely to cause purchasers and potential purchasers to falsely believe that

Defendants’ goods are sponsored by, approved by, or affiliated with Plaintiff.

      25. Defendants’ SAVANNAH SELTZER Mark is confusingly similar to the

Plaintiff’s registered SAVANNAH Mark, and the unauthorized use of

SAVANNAH SELTZER by Defendants in commerce is likely to cause damage

and other irreparable injury to Plaintiff unless such use is enjoined by this Court,

Plaintiff having no adequate remedy at law.

      26. Defendants’ use of marks in commerce that are confusingly similar to

Plaintiff’s registered SAVANNAH Mark is an infringement of Plaintiff’s rights in

and to its federally registered SAVANNAH Mark in violation of 15 U.S.C. § 1114.

      27. Upon information and belief, Defendants’ aforesaid acts have been and

are being committed with the knowledge that such acts are likely to cause

confusion, or to cause mistake, or to deceive. Defendants’ acts are therefore




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intentional, willful, and are maliciously calculated to cause confusion, to cause

mistake, or to deceive. As such, this is an exceptional case.

      28. In accordance with 15 U.S.C. § 1117, Plaintiff is entitled to recover from

Defendants, jointly and severally: (1) their profits, (2) any damages sustained by

Plaintiff, and (3) the costs of the instant action. Further, based upon the nature of

Defendants’ violation of Plaintiff’s trademark rights, Plaintiff is entitled to

reasonable attorney’s fees and the trebling of such profits or damages.

      29. Plaintiff has been or is likely to be irreparably damaged by Defendants’

use of an infringing mark in the United States, and will continue to be irreparably

damaged unless permanently enjoined by this Court.

                                    COUNT II.

                      FEDERAL UNFAIR COMPETITION
                     IN VIOLATION OF 15 U.S.C. § 1125(A)

      30. Paragraphs 1-23 are realleged and incorporated herein by reference.

      31. In marketing and offering to sell its vodka-based seltzers in commerce

in the United States under the SAVANNAH SELTZER Mark, Defendants have

used in connection with its goods a false designation of origin that is likely to

cause confusion, to cause mistake, or to deceive others to believe that

Defendants’ goods are sponsored by, approved by, originate with, or are

affiliated with Plaintiff. Defendants intend to offer their goods for sale in


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interstate commerce with knowledge of such false designation of origin or

description or representation.

      32. Defendants are willfully promoting in commerce their goods in a

manner so as to falsely designate an origin or an association with Plaintiff, with

Plaintiff’s SAVANNAH Marks, and with Plaintiff’s goods, so as to be likely to

cause confusion or mistake among purchasers as to the true origin, source,

sponsorship, or affiliation of Defendants’ goods, all to Defendants’ profit and to

Plaintiff’s damage.

      33. Plaintiff has been and/or will be irreparably damaged by the use of

such false designation and/or representation, and will continue to be irreparably

damaged unless Defendants are enjoined by this Court, Plaintiff having no

adequate remedy at law.

      34. Defendants have intentionally traded upon the goodwill established by

Plaintiff through Defendants’ advertising of their goods under the SAVANNAH

SELTZER Mark in interstate commerce, and Defendants intend to intentionally

trade upon the goodwill established by Plaintiff through the sale of their goods

under the SAVANNAH SELTZER Mark in interstate commerce.

      35. Defendants’ acts constitute unfair competition, false designation of

origin, and false description in violation of 15 U.S.C. § 1125(a).



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      36. In accordance with 15 U.S.C. § 1117, Plaintiff is entitled to recover from

Defendants: (1) their profits, (2) any damages sustained by Plaintiff, and (3) the

costs of the instant action. Further, based upon the willful nature of Defendants’

violation of Plaintiff’s trademark rights, Plaintiff is entitled to reasonable

attorney’s fees and the trebling of such profits or damages.

                                    COUNT III.

      COMMON LAW TRADEMARK INFRINGEMENT AND UNFAIR
                      COMPETITION

      37. Paragraphs 1-23 are realleged and incorporated herein by reference.

      38. As a result of the relevant consuming public’s association of the

SAVANNAH Marks with Plaintiff, Defendants’ use of a confusingly similar mark

in connection with their goods, which are the same as or are competitive with the

goods of Plaintiff, is likely to cause confusion, to cause mistake, and to deceive.

      39. Defendants are preparing to offer their goods for sale with full

knowledge of Plaintiff’s SAVANNAH Marks. This offering of their goods is for

the willful and calculated purpose of trading on the goodwill and business

reputation of Plaintiff as embodied in and symbolized by the SAVANNAH

Marks.

      40. Defendants have promoted and offered for sale their goods in such a

manner as to suggest an association, affiliation, or sponsorship with, or approval


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by Plaintiff, so as to cause, or likely cause, confusion or mistake among relevant

purchasers as to the origin or sponsorship of Defendants’ goods, all to

Defendants’ profit and to Plaintiff’s damage.

      41. The aforesaid conduct of Defendants constitutes infringement of

Plaintiff’s common law rights in and to the SAVANNAH Marks, and further

constitutes common law unfair competition, all of which has irreparably

damaged and/or will irreparably damage Plaintiff, together with its goodwill

and reputation, unless Defendants are enjoined and restrained by this Court,

Plaintiff having no adequate remedy at law.

                                    COUNT IV.

      VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE
                PRACTICES ACT, O.C.G.A. § 10-1-370

      42. Paragraphs 1-23 are realleged and incorporated herein by reference.

      43. Defendants, in the course of their business, have caused a likelihood of

confusion or of misunderstanding as to the source, sponsorship, approval, or

certification of their goods, in violation of O.C.G.A. § 10-1-372(a)(2).

      44. Defendants, in the course of their business, have caused a likelihood of

confusion or of misunderstanding as to affiliation, connection, or association with

or certification of their goods by another, in violation of O.C.G.A. § 10-1-372(a)(3).




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      45. Defendants, in the course of their business, have represented that their

goods have or will have sponsorship or approval that they do not have, in

violation of O.C.G.A. § 10-1-372(a)(5).

      46. Defendants, in the course of their business, have engaged in other

conduct that creates a likelihood of confusion or of misunderstanding in violation

of O.C.G.A. § 10-1-372(a)(12).

      47. Defendants’ actions demonstrate their willful and bad faith intent to

harm Plaintiff’s business and the goodwill and reputation of Plaintiff.

      48. Defendants are likely to cause substantial injury to Plaintiff. Plaintiff

has no adequate remedy at law and is entitled to permanent injunctive relief,

costs and reasonable attorneys’ fees pursuant to O.C.G.A. § 10-1-373.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for a judgment of the Court as follows:

      1)     That Defendants, and those persons in active concert or participation

with Defendants, be preliminarily and permanently enjoined and restrained from

selling, offering or sale, or providing, advertising or promoting, and/or

authorizing the advertising and/or sale of vodka-based hard seltzers or other

alcoholic beverages under the SAVANNAH SELTZER Mark, or any other

designation, trademark or service mark that is likely to cause confusion, mistake,



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or deception as to the source or sponsorship of Defendants’ goods, or from

otherwise infringing Plaintiff’s SAVANNAH Marks;

      2)     That Defendants be directed to file with the Court and serve upon

Plaintiff, no later than thirty (30) days after the issuance of an injunction, a report

in writing and under oath, setting forth in detail the manner and form in which

Defendants have complied with the injunction of the immediately preceding

paragraph and any other provision of this Court’s Order.

      3)     That an accounting be conducted and judgment be rendered against

Defendants, jointly and severally, for:

             a) all profits received by Defendants from the sale of any goods

                under the SAVANNAH SELTZER Mark in the United States;

             b) all damages in an amount proven at trial from, inter alia,

                Defendants’ trademark infringement, unfair competition, false

                designation of origin and false description or representation,

                pursuant to 15 U.S.C. § 1051 and O.C.G.A. § 10-1-373;

             c) any other actual and compensatory damages in an amount not

                presently known, but to be computed during the pendency of this

                action.




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      4)      That any profits or damages assessed against Defendants for

trademark infringement and unfair competition be trebled as provided by 15

U.S.C. § 1117;

      5)      That judgment be rendered against Defendants, jointly and

severally, for monetary damages to be used for corrective advertising to be

conducted by Plaintiff.

      6)      That Plaintiff have and recover from Defendants, jointly and

severally, its expenses in this suit, including but not limited to its reasonable

attorneys’ fees and expenses, recoverable under 15 U.S.C. § 1117(a) and O.C.G.A.

§ 10-1-373.

      7)      That Plaintiff have such other and further relief as this Court may

deem just and proper.

                                  JURY DEMAND

      Plaintiff demands a trial by jury of all issues so triable.

      Respectfully submitted November 5, 2021.

                                            THE SEIGEL LAW FIRM LLC

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